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                              UNITED STATES DISTRICT COURT
                                                       Jic;                 '     "          ^
                               DISTRICT OF WYOMING
                                                                 /V -..           ^ A;-/ ,

                                                                                CnX''/Vi'0
WEIHAI TEXTILE GROUP IMPORT &
 EXPORT CO, LTD,

               Petitioner,

                                                      CaseNo.21-MC-147-SWS
        V.



 ERUPTION HOLDINGS, INC.,

               Respondent.


                    ORDER CONFIRMING ARBITRAL AWARD



       Petitioner Weihai Textile Group is a Chinese company that imports and exports

clothing and textiles. Respondent Eruption Holdings is a Wyoming corporation, formed

in February 2016 and administratively dissolved in April 2019, that sold men's t-shirts to

U.S. military members and veterans. Weihai says it entered into a total of seven sales

contracts with Eruption over several months in late 2018 to supply Eruption with over half

a million dollars' worth of various garments. When Weihai wasn't paid for the last six

sales contracts, it took the dispute before a trade arbitration commission in China

(CIETAC) pursuant to an arbitration clause in each of the sales contracts. The arbitrator

awarded Weihai over $566,000 on the six unpaid sales contracts after Eruption failed to

appear for the arbitration.

       Weihai filed the instant action in U.S. federal court for an order confirming the

international arbitral award in order to enforce it against Eruption. (Doc. 1.) Meanwhile,


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Eruption has moved to have the arbitral award set aside or refused, arguing it never entered

into the sales contracts which were the result offraudulent conduct by a third party,it never

had proper notice of the arbitration proceeding, and equity and public policy demand the

arbitral award be set aside or refused. (Docs. 11, 12, 33.)

         At Weihai's request (Docs. 17, 20) and over Eruption's objection (Doc. 19), the

Court granted Weihai leave to engage in limited discovery on the issues presented by

Eruption in this proceeding(Doc. 21). The discovery period has concluded, and the parties

have fully briefed the issues. (Docs. 32,33.) Whether the foreign arbitration award should

be confirmed or refused is now ripe for decision.

                                     BACKGROUND


         Eruption was formed in 2016 by Mr. John Legge and his wife, Gwen, with the

purpose of providing patriotic men's t-shirts to U.S. military members and veterans.

(Legge Aff.(Doc. 12-1) p. 2.) In 2017, Eruption desired to produce t-shirts with reflective

ink. (Id. p. 3.) In late 2017, Mr. Legge was introduced to Mr. Francis Liang and his wife,

Annie, who were operators of the Feimann Group, who could fulfill the reflective ink

requirement. (Id. pp. 3-4.) In early 2018, Eruption purchased a relatively small order oft-

shirts with reflective ink from Feimann Group at a cost of about $3,400, which was

Eruption's only purchase from Feimann Group. (Id. p. 4.) Eruption was non-operational

after August 2018. (Id. pp. 4-5.)

         That was not the end of Eruption's interaction with Francis Liang and the Feimann

Group, though. Francis Liang contacted Mr. Legge in late August 2018 for a supposed

favor.

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       Eruption was asked by Mr. Liang to assist Feimann with its manufacturer
       relationships by wiring $300.00 to Weihai[.] Mr. Liang explained that he
       and/or Feimann would wire $350.00 to Eruption(with the extra $50.00 being
       provided to cover wiring expenses). Once Eruption received the wire, it was
       to wire the amount of$300.00 to Weihai.

{Id. p. 5.) Eruption complied because "[t]he request seemed innocent enough" and Mr.

Legge wanted to help "a perceived partner in need[.]" {Id.) Eruption says it had no further

contact with Francis Liang or the Feimann Group. {Id.)

       Francis Liang, allegedly working on behalf of Eruption, entered into a total ofseven

sales contracts with Weihai for the purchase of a large number of garments, with the first

contract dated August 1, 2018, the next three dated October 12, 2018, the next two dated

November 11,2018, and the last dated December 11,2018. (Doc. 1 pp. 26-27.) Between

the $300.00 that was wired by Eruption and later payments from the Feimann Group

allegedly acting on Eruption's behalf, the first contract was paid in full, and the second

contract was partially paid. {Id.) Weihai shipped the garments to Los Angeles as

designated in the sales contracts. {Id. pp. 27-28.) The remaining balance ofover $566,000

was never paid by either Francis Liang/Feimann Group or Eruption. Pursuant to an

arbitration clause in the sales contracts, Weihai pursued the unpaid balance in arbitration

and received the foreign arbitral award at issue in this case.

       Eruption sets forth three reasons enforcement of the arbitral award should be set

aside or refused. First, it contends it was not a party to the sales contracts because Francis

Liang fraudulently entered into the sales contracts on Eruption's behalf without ever having

the authority to do so, and Eruption never received any of the merchandise. Second,

Eruption says it never received notice of the arbitration proceeding in China and it would

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have defended itself in that forum if it knew about the proceeding. And third, Eruption

argues equity,justice, and public policy demand the arbitral award be refused so it is not

wronghilly held to answer for Francis Liang's fraud. Weihai stands fast in its request to

confirm the foreign arbitral award. (Doc. 32.)

    STANDARD OF REVIEW FOR ENFORCING OR REFUSING FOREIGN
                                ARBITRAL AWARDS


      Weihai seeks to confirm and enforce the Chinese arbitral award under the 1958 U.N.

Convention on the Recognition and Enforcement ofForeign Arbitral Awards, also known

as the"New York Convention." (Doc. 1 p. 2.) "The New York Convention is a multilateral

treaty that addresses international arbitration." GE Energy Power Conversion France SAS,

Corp. V. Outokumpu Stainless USA, LLC, 140 S. Ct. 1637,1644(2020). As relevant here,

"the New York Convention applies to arbitral awards 'made' in a foreign country that a

party seeks to enforce in the United States (known as foreign arbitral awards)[.]" CBF

Industria de Gusa S/A v. AMCIHoldings, Inc., 850 F.3d 58, 70(2d Cir. 2017). Chapter

Two of the Federal Arbitration Act(FAA)incorporates the provisions of the New York

Convention into United States domestic law. See 9 U.S.C. §§ 201-208. Both China, where

Weihai is based, and the United States, where Eruption is based, are signatories to the New

York Convention.


      The Court first notes it does not have the authority to "set aside" the arbitral award,

as requested by Eruption. The arbitral award at issue here was made in China applying

Chinese law pursuant to sales contracts that expressly made China the forum nation for

arbitration. (See, e.g.. Doc. 1 p. 84.) Therefore, only China holds "primary jurisdiction"


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over the arbitral award under which the award can be set aside or modified. CBFIndustria

de Gusa S/A, 850 F.3d at 71. In contrast, this Court sits in "secondary jurisdiction" over

the foreign arbitral award,"in which parties can only contest whether [the United States]

should enforce the arbitral award." Id. (quoting Karaha Bodas Co., LLC. v. Perusahaan

Pertambangan Minyak Dan Gas Bumi Negara, 500 F.3d 111, 115 n.l (2d Cir. 2007)).

Thus, as a secondary jurisdiction, this Court's authority under the New York Convention

(and FAA)is limited to deciding whether the foreign arbitral award should be recognized

and enforced (i.e., confirmed)in the United States or refused. See Salini Costruttori S.p.A.

V. Kingdom ofMorocco,233 F. Supp. 3d 190,197(D.D.C.2017)("Secondaryjurisdictions

may refuse to enforce an award, but these decisions do not preclude other jurisdictions

fi"om enforcing it. By contrast, only a primary jurisdiction may set aside an award.").

       In considering whether to confirm or refuse an arbitral award, "the standard of

review of arbitral awards is among the narrowest known to law." Brown v. Coleman Co.,

220 F.3d 1180,1182(10th Cir. 2000){oyioXmgARWExploration Corp. v. Aguirre, 45 F.3d

1455, 1462 (10th Cir. 1995)). The Court must afford "'maximum deference' to the

arbitrators' decisions." CEEG(Shanghai)Solar Sci. & Tech. Co., Ltd v. LUMOSLLC,829

F.3d 1201, 1206 (10th Cir. 2016) (citing ARW Exploration, 45 F.3d at 1462); see also

Brown, 220 F.3d at 1182 ("we must give extreme deference to the determination of the

arbitration panel"). The Court is "not authorized to reconsider the merits ofan award even

though the parties may allege that the award rests on errors of fact or on misinterpretation

of the contract," United Paperworkers Int'l Union, AFL-CIO v. Misco, Inc., 484 U.S. 29,

36 (1987), and "[a]n arbitrator's erroneous interpretations or applications of law are not

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reversible," ARWExploration, 45 F.3d at 1463. '"Errors in the arbitrator's interpretation

oflaw or findings offact do not merit reversal' ofthe award unless the arbitrator's decision

is based on '"manifest disregard of the law.'" Goldgroup Res., Inc. v. DynaResource de

Mexico, S.A. de C. V.,994 F.3d 1181,1186(10th Cir. 2021)(quoting Bowles Fin. Grp., Inc.

V. Stifel, Nicolaus & Co., 22 F.3d 1010, 1012 (10th Cir. 1994)). "A court may not,

therefore, independently judge an arbitration award." Bowen v. Amoco Pipeline Co., 254

F.3d 925,932(10th Cir. 2001). Federal courts "employ this limited standard ofreview and

exercise caution in setting aside arbitration awards because one purpose behind arbitration

agreements is to avoid the expense and delay of court proceedings." Id. "By agreeing to

arbitrate, a party trades the procedures and opportunity for review ofthe courtroom for the

simplicity, informality, and expedition of arbitration." Brown, 220 F.3d at 1182(quoting

Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20,31 (1991)).

      "Under the New York Convention, a court must 'confirm the award unless it finds

one of the grounds for refusal or deferral of recognition or enforcement of the award

specified in the said Convention.'" CEEG(Shanghai)Solar Sci.,829 F.3d at 1206(quoting

9 U.S.C. § 207). The reasons for refusal relevant to Eruption's arguments are:

      1.      Recognition and enforcement of the award may be refused, at the
      request of the party against whom it is invoked, only if that party furnishes
      to the competent authority where the recognition and enforcement is sought,
      proof that:
             (a) The parties to the agreement referred to in article II were,under
              the law applicable to them, under some incapacity, or the said
              agreement is not valid under the law to which the parties have
              subjected it or, failing any indication thereon, under the law of the
             country where the award was made; or



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             (b) The party against whom the award is invoked was not given
             proper notice ofthe appointment ofthe arbitrator or of the arbitration
             proceedings or was otherwise unable to present his case; or

      2.     Recognition and enforcement ofan arbitral award may also be refused
      ifthe competent authority in the country where recognition and enforcement
      is sought finds that:

             (b) The recognition or enforcement ofthe award would be contrary
             to the public policy ofthat country.

New York Convention, 21 U.S.T. 2517, art. V(l)-(2). The defenses specified in the New

York Convention constitute the exclusive bases for refusing to confirm a foreign arbitral

award. Goldgroup Res.,994 F.3d at 1188.

      "Courts construe these defenses 'narrowly, to encourage the recognition and

enforcement of commercial arbitration agreements in international contracts.'" CEEG

(Shanghai) Solar Set, 829 F.3d at 1206 (quoting Karaha Bodas Co. v. Perusahaan, 364

F.3d 274, 288 (5th Cir. 2004)). "A confirmation action under the New York Convention

'is a summary proceeding in nature, which is not intended to involve complex factual

determinations, other than a determination of the limited statutory conditions for

confirmation or grounds for refusal to confirm," Compania de Inversiones Mercantiles,

S.A. V. Grupo Cementos de Chihuahua S.A.B. de C.V., 970 F.3d 1269, 1287 (10th Cir.

2020)(quoting Zeiler v. Deitsch, 500 F.3d 157, 169 (2d Cir. 2007)), cert, denied, 141 S.

Ct. 2793(2021). The party challenging the enforceability ofan arbitral award, as Eruption

does here,"has the burden ofsustaining such an attack." Ormsbee Dev. Co. v. Grace, 668

F.2d 1140, 1147 (10th Cir. 1982). And that "burden is a heavy one, as 'the showing

required to avoid summary confirmance is high,'" Guang Dong Light Headgear Factory


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Co. V. ACIInt'l, Inc., 521 F. Supp. 2d 1153,1166(D. Kan. 2007)(quoting Encyclopaedia

Universalis S.A. v. Encyclopaedia Britannica, Inc., 403 F.3d 85, 90(2d Cir. 2005)). The

party challenging confirmation must make "a convincing showing"that one ofthe "narrow

exceptions" applies to avoid confirmation and enforcement. Matter ofArb. Between Trans

Chem. Ltd. & China Nat. Mack. Imp. & Exp. Corp., 978 F. Supp. 266, 309 (S.D. Tex.

1997), affd sub nom. Trans Chem. Ltd. v. China Nat. Mach. Imp. & Exp. Corp., 161 F.3d

314(5th Cir. 1998).

                                     DISCUSSION


       The Court finds Eruption has not carried its burden ofshowing one ofthe exceptions

to confirmation applies in this case. In its Order Granting Petitioner's Motion to Conduct

Limited Discovery, the Court cursorily discussed several of the deficiencies it found in

Eruption's motion to set aside or refuse the arbitral award. (Doc. 21 pp. 8-10.) Eruption's

subsequent reply (Doc. 33) has not adequately supported its assertions or rectified those

deficiencies.


1.     Article V(l)(a)- Validity of the Sales Contracts

      Eruption first contends "there was no legal relationship, contractual or otherwise,

between the parties" because Francis Liang fraudulently entered into the sales contracts

without authority to do so. (Doc. 12 p. 14.) Eruption argues it was never a party to the

sales contracts and should not be held to answer on them. "Here, undoubtedly someone

agreed to Weihai's contracts(we now know that to be Mr. Liang), but it was not Eruption.

Eruption has never engaged or sought the services ofPetitioner (or any Chinese company

for that matter)." {Id. p. 16.) Obviously due to Eruption's non-participation in the

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arbitration proceeding, this argument was never presented to the arbitrator. In response,

Weihai asserts Eruption is liable on the sales contracts because Francis Liang had actual or

apparent authority to bind Eruption to the contracts. (Doc. 32 p. 10-16.)

       Under Article V(l)(a), the Court may refuse to confirm a foreign arbitral award if

"the said agreement is not valid under the law to which the parties have subjected it or,

failing any indication thereon, under the law of the country where the award was made."

The parties disagree about what law applies to this issue. Weihai says Chinese law governs

the validity of the agreement because each sales contract included a choice-of-law

provision denoting that contractual disputes would be governed by the laws of China.

(Doc. 32 p. 17; see, e.g.. Doc. 1 p. 84.) Eruption contends the validity of contracts is "a

matter that has been routinely decided using principles of domestic law." (Doc. 33 p. 9.)

The plain language of Article V(l)(a) suggests Chinese law would govern this dispute, but

the Court will apply domestic contract principles to this issue because the very core of

Eruption's argument is that it is not a party to the sales contracts and therefore Eruption

never agreed to subject the contracts to Chinese law. See Changzhou AMEC E. Tools &

Equip. Co. V. E. Tools & Equip., Inc., No. EDCV 11-00354 V,2012 WL 3106620, at *9-

19 (C.D. Cal. July 30, 2012)(applying domestic contract law in determining validity of

underlying contract in a foreign arbitral award confirmation proceeding), affd sub nom.

Xuchu Dai v. E. Tools & Equip., Inc., 571 F. App'x 609 (9th Cir. 2014)(noting, though,

that the parties did not challenge on appeal whether common law duress could "constitute

a defense against confirmation of an arbitration award under the New York convention").



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Even applying United States contract principles, though, the Court finds Eruption has not

carried its burden on this issue.


       1.1    Francis Liang's Apparent Authority to Enter into the Sales Contracts


       Francis Liang had the apparent authority, created by Mr. Legge's actions on

Eruption's behalf, to bind Eruption to the sales contracts. "Apparent authority is created

when the principal holds the agent out as possessing the authority to bind the principal or

when the principal allows the agent to claim such authority." Miller v. Life Care Centers

ofAm., Inc., 478 P.3d 164, 173 (Wyo. 2020)(quoting Cargill, Inc. v. Mountain Cement

Co., 891 P.2d 57, 62 (Wyo. 1995)). "To bind the principal under a theory of apparent

authority, a third party must establish personal knowledge of, and reliance on,the apparent

authority of the agent." Id. (citing Ulen v. Knecttle, 58 P.2d 446,449(Wyo. 1936)).

       To recover on [an apparent authority theory] the third party must establish
       two facts:(1)the principal was responsible for the appearance of authority in
       the agent to conduct the transaction in question, and (2) the third party
       reasonably relied on the representations of the agent.

Id. at 173-74 (alteration in original)(quoting Cargill, 891 P.2d at 62-63).

       Mr. Legge provided Francis Liang with an email address at Eruption's business

domain(francis@eruptioninc.com')(Doc. 19-1 (Legge Aff.)^ 2), which Francis Liang used

to communicate with Weihai {e.g.. Doc. 32-2 pp. 1-4). Mr. Legge says he "intended for

this gesture to assist with communications regarding Eruption's order with the Feimann

Group in March of 2018"(Doc. 19-1 T[ 3) and did it "because [he] didn't want to get any

kind of[computer] viruses coming into [his email] system"(Legge Depo. 14:21-15:13^).


 Available at Doc. 32-3.

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Mr. Legge's affimative action strongly suggests to Weihai that Francis Liang was an

employee or representative of Eruption.

        Additionally, as mentioned earlier, Eruption wired $300.00 from its own account to

Weihai at the request of Francis Liang. (Doc. 12-1 p. 62.) Eruption complied because

"[t]he request seemed innocent enough" and Mr. Legge was "[l]ooking forward to assisting

a perceived partner in need"(id. p. 5), and Francis Liang was trying to become Mr. Legge's

personal friend (Legge Depo. 25:8-27:16). This money wire occurred in late August 2018

(Doc. 12-1 p. 62), after Francis Liang had placed the first order with Weihai allegedly on

Eruption's behalf(Doc. 1 p. 26, Doc. 17-1 pp. 13-15). Again, Mr. Legge's affinnative

action reasonably suggests to Weihai that Francis Liang had the authority to bind Eruption

to the sales contracts and that Eruption intended to pay for the garments.^

        Finally, Mr. Legge was copied on at least two of the emails between Francis Liang

and Weihai.          (Doc. 32-2 pp. 1-4 (email from Elain Yang at Weihai to

francis@eruptiQninc.com copied to iohn@eruptiQninc.com. and response email from

francis@eruptioninc.com also copied to iohn@eruptioninc.com).) These emails, printed

from John Legge's @eruptioninc.com email account and dated December 27, 2018^, were

in English and warned that while Weihai had accepted a partial payment from Feimann

Group on Eruption's behalf, future payments needed to come directly from Eruption. (Id.)




^ This $300 payment was credited against the first sales contract, and with the later payment received from
Francis Liang/Feimann Group,the first sales contract was paid in full and the small remainder was credited
against the second sales contract.
^ The same emails are found elsewhere in the record with a date ofDecember 28, 2018. (Doc. 17-1 p. 37.)
The other version contains more Mandarin writing and appears to be printed from Weihai's email account,
which would correspond with China's time zone being at least 13 hours ahead of the U.S. time zones.

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In Francis Liang's response to Weihai, he said he had "discussed with John already" and

confirmed that future payments would be made "thru Eruption bank account." {Id.)

Despite being copied on these emails and testifying that he checked his Eruption email

account (Legge Depo. 23:6-10), Mr. Legge asserts he did not see these emails (Legge

Depo. 23:13-21) and "did not afford this message any attention as neither I nor Eruption

had dealings in China or with a China-based provider"(Doc. 19-1 (Legge Aff.)]|8), despite

having earlier wired $300 to Weihai. While the Court finds Mr. Legge's responses on this

matter to be contradictory'*, what matters more is that Mr. Legge was copied on an email

that said he had discussed the payment situation with Francis Liang and Mr. Legge never

objected to the assertion or corrected the matter he now says was fraudulent.

        By assigning Francis Liang an @eruptioninc.com email address and wiring $300 to

Weihai at Francis Liang's request, Mr. Legge/Eruption created an appearance of authority

in Francis Liang to act on behalf of Eruption. Then, by failing to respond to the email

exchange asserting that future payments for six sales contracts would come directly from

Eruption's bank account, Eruption allowed Weihai to reasonably rely on Francis Liang's

actions and representations as an agent of Eruption. The two elements necessary for

apparent authority exist in this case, and Francis Liang possessed apparent authority to bind




  This is not the only contradiction from Mr. Legge. In his affidavit in support of Eruption's motion to set
aside or refuse the arbitral award, Mr. Legge asserted,"I am entirely unfamiliar with" Mr. Yun(York) Liu
(Doc. 12-1 (Legge Aff.) H 51). In his later deposition, though, Mr. Legge said he had met Mr. Liu once in
person at Francis Liang's office but did not speak with him because Mr. Liu did not speak English. (Legge
Depo. 38:1-39:1.)

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Eruption to the sales contracts, which effectively makes Eruption a party to the sales

contracts.^

        1.2     Eruption's Implied Ratification and Francis Liang's Actual Authority


        Even if Francis Liang did not possess apparent authority to bind Eruption to the

sales contracts, Eruption, through Mr. Legge, impliedly ratified the sales contracts entered

into by Francis Liang as Eruption's alleged agent. An act that was unauthorized when

done, as Eruption contends here, "may be expressly or impliedly ratified and thus be

rendered just as binding as if it had been authorized when done." Lahnston v. Second

Chance Ranch Co., 968 P.2d 32, 36 (Wyo. 1998). One of the methods for impliedly

ratifying a previously unauthorized act is "silence, acquiescence, or failure to repudiate."

Id. As previously discussed, Mr. Legge was copied on at least two emails between Francis

Liang and Weihai.           (Doc. 32-2 pp. 1-4 (email from Elain Yang at Weihai to

francis@eruptioninc.com copied to iohn@eruptioninc.com. and response email from

francis@eruptioninc.com also copied to iohn@.eruptioninc.com').) These emails indicate

they were received by John Legge on December 27, 2018, and they were in English and

warned that while Weihai had accepted a partial payment from Feimann Group on

Eruption's behalf,future payments needed to come directly from Eruption. {Id.) In Francis



^ On December 13, 2018, Francis Liang emailed to Weihai a letter, purportedly signed by Mr. Legge on
Eruption's letterhead, which authorized Francis Liang and Feimann Group to act on Eruption's behalf
concerning apparel business dealings in China. (Doc. 17-1 pp. 24-25.) Eruption contends this was a
fraudulent letter and filed a report from an expert document examiner opining that the signature on the
authorization letter does not match Mr. Legge's handwriting. (Doc. 12-1 pp. 80-95.) From Weihai's
perspective, there certainly was nothing at the time to suggest the authorization letter was forged, thus only
increasing the appearance of Francis Liang's authority to bind Eruption on the sales contracts. However,
the Court does not find it necessary to determine here the authenticity of the authorization letter because
the Court has not considered the authorization letter as part of the analysis.

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Liang's response to Weihai, he said he had "discussed with John already" and confirmed

that future payments would be made "thru Eruption bank account." {Id.) Mr. Legge

asserts,"Unfortunately,I did not afford this message any attention as neither I nor Eruption

had dealings in China or with a China-based provider"(Doc. 19-1 (Legge Aff.)^ 8), again

despite having earlier wired $300 to Weihai in an alleged attempt to support Francis

Liang's dealings in China with a China-based provider.

       Mr. Legge's explanation raises the issue of Eruption's knowledge of the matter,

which is necessary for ratification. "Ratification requires full knowledge ofall the material

facts on the part of the corporate principal." Lahnston,968 P.2d at 36. Giving Mr. Legge

and Eruption the benefit ofthe doubt, it appears they did not have complete knowledge of

all the material facts surrounding the contract sales at the time he was copied on these

emails. But the emails created a duty to inquire. "Although actual knowledge ofthe act is

required, directors are held to know that which they could have ascertained with slight

diligence. A director is chargeable with knowledge of those corporate affairs which it is

his duty to know." Id. (internal citation omitted). The email from Weihai demanded that

future payments for the remaining six purchase orders come from Eruption and not another

company's account, and it noted the products for two of the purchase orders were being

shipped at that time. (Doc. 32-2 p. 1.) And Francis Liang responded,"We will make the

payment thru Eruption bank account for any outstanding balance in the future." {Id. p. 3.)

Having given Francis Liang an Eruption email account and previously wired money to

Weihai from Eruption's account,some slight diligence by Mr. Legge and Eruption looking

into the emails on which he was copied at this point would have revealed the sales contracts

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and the alleged fraud ofFrancis Liang. Consequently,the law charges Mr. Legge/Eruption

with possessing this knowledge.

       Moreover, Mr. (and Mrs.) Legge had prior business experience placing and

obtaining large orders ofclothing from a Chinese manufacturer. See Grooms v. Legge,No.

09CV489-IEG-POR,2009 WL 962067, at *4(S.D. Cal. Apr. 8,2009)(describing an order

"for more than $200,000 of sweatshirts imported from China" placed by the Legges for

one oftheir prior business ventures). Thus, due to his experience with placing large textile

orders with Chinese manufacturers, Mr. Legge was not a neophyte and was in a position to

recognize and understand the significance ofthe December 27,2018 emails.

       Mr. Legge had a duty to inquire into the information and a duty to speak against

Francis Liang's actions if he did not agree with them. "Where the rights and obligations

of third parties [such as Weihai here] may depend on his election to ratify or disaffirm, a

party is bound to act, or suffer the consequences of inaction; and if, after knowledge, he

remains entirely silent and impassive, it is but just, when the protection of third parties

require it, to presume that what, upon knowledge, he has failed to repudiate, he has tacitly

ratified." McConnell v. Dixon,233 P.2d 877, 892(Wyo. 1951).

       Because Mr. Legge and Eruption are charged with knowing ofthe sales contracts as

of December 27, 2018, their silence and failure to repudiate the actions of Francis Liang

constitute implied ratification. See Velasquez v. Chamberlain, 209 P.3d 888, 894(Wyo.

2009)("In this case, ratification is implied by Guy's silence in the face of knowledge of

the pipeline.... It also can be reasonably inferred that, by not objecting to Larry in any

manner over a period of almost six months, Guy ratified the Agreement."). Mr. Legge's

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lack of action after receiving the December 27, 2018 emails "justifies a reasonable

assumption" that Eruption consented to Francis Liang's actions allegedly taken on

Eruption's behalf. Id. (quoting Restatement (Third) of Agency (ALI)§ 4.01 (2006)). In

turn, ratification "retroactively creates the effects of actual authority." Id. (quoting

Restatement (Third) of Agency (ALI) § 4.02 (2006)). Accordingly, Francis Liang

possessed actual authority to bind Eruption to the sales contracts, which makes Eruption a

party to the sales contracts.

       Eruption has not carried its burden under Article V(l)(a) of the New York

Convention of showing the sales contracts were invalid against Eruption. Through

apparent authority or implied ratification, or both. Eruption's actions made it a party to,

and liable on, the sales contracts at issue in the arbitral award.

2.     Article          - Notice of Arbitration Proceedings

       Eruption also argues it never received proper notice of the arbitration proceeding.

(Doc. 12 pp. 18-21.) Under Article V(l)(b), a foreign arbitral award may be refused if

"[t]he party against whom the award is invoked was not given proper notice of the

appointment of the arbitrator or of the arbitration proceedings or was otherwise unable to

present his case."

       To judge compliance with the New York Convention's "proper notice"
       requirement, courts look to the forum's standards of due process. See Iran
       AircraftIndus, v. Avco Corp.,980 F.2d 141,145(2d Cir. 1992). Notice must
       be "reasonably calculated, under all the circumstances, to apprise interested
       parties of the pendency of the action and afford them an opportunity to
       present their objections." Mullane v. Cent. Hanover Bank & Tr. Co., 339
       U.S. 306,314,70 S.Ct. 652,94 L.Ed. 865 (1950).



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CEEG(Shanghai)Solar Set. & Tech. Co., Ltd v. LUMOS LLC,829 F.3d 1201,1206(10th

Cir. 2016)(footnote omitted).

       The arbitral award states the arbitrator sent three separate documents via express

mail service to Eruption, and delivery of each was confirmed:

       Document(s)            Date Mailed                    Date Delivered


 Arbitration notice, with    May 6,2020        "It has been confirmed that the said mail
 copy of arbitration rules                     sent to the Respondent was delivered on
                                                July 14,2020." (Doc. 1 p. 18.)
 Notice of arbitration       September 24, "It has been confirmed that the said
 hearing set for             2020          documents sent to the Respondent were
 November 11,2020                          delivered on September 30, 2020." (Doc.
                                                1 p. 18.)
 Documents submitted by      November 30, "It has been confirmed that the above mail
 Claimant Weihai for         2020         sent to the Respondent was delivered on
 arbitration hearing, and                 December 7,2020." (Doc. 1 p. 19.)
 request for objections

Additionally, the arbitral award itself was mailed via express mail service to Eruption's

business address, which is also its registered agent's address(Doc. 12 p. 9), on January 15,

2021, and the International Express Waybill reports it was delivered on January 22, 2021,

at 11:08 a.m. (Doc. 1 pp. 64-66, 72; see also Doc. 12-1 p. 65 (Eruption's letterhead

showing the same address to which the arbitral award was sent).)

       In support of Eruption's claim that it never received any mail from the arbitrator, it

provides its own internet tracking search results for the arbitral award. (Doc. 12-1 pp. 103-

104.) These tracking inquiries appear to show only that the parcel left the Beijing

International Airport on January 19, 2021, and they do not display any record of the

parcel's whereabouts after that. (Id.) While this tracking information does not indicate

delivery, it also does not rebut the arbitrator's records showing the parcel was delivered
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three days later(Doc. 1 pp. 65,66, 72). Ignoring the severe foundational shortcomings of

this evidence for the moment, this incomplete tracking information does not carry

Eruption's burden of rebutting the arbitrator's statements that notice of the arbitration

proceeding and hearing were confirmed delivered to Eruption's business address, which

was its registered agent's address.

          Eruption also submits a copy of an email exchange between Mr. Legge and

Wyoming EZ Corp, Eruption's registered agent. (Doc. 12-1 p. 101.) In it, he asked the

registered agent whether it had received "any legal papers or any other correspondence"

on the dates on which the arbitrator's mail was confirmed delivered (according to the

arbitrator), and the registered agent responded that it had "not received anything for you

on these dates." (Id.) However,this out-of-court and unsworn statement is classic hearsay

for which Eruption offers no guaranties of trustworthiness, and the Court will not rely on

it for the truth of the matter asserted therein. It carries no probative value in support of

Eruption's assertions. See Thomas v. Int'l Bus. Machines, 48 F.3d 478, 485 (10th Cir.

1995) (in motions practice, evidence need not be produced in a form that would be

admissible at trial, but "the content or substance of the evidence must be admissible" at

trial).

          In the end,though, even were the Court to consider both the foundationless tracking

information and hearsay email and accept Eruption's claim that it did not receive actual

notice, it still would not carry Eruption's burden of proving lack of notice under the New

York Convention. As already noted, proper notice under Article V(l)(b) must be

reasonably calculated under the circumstances to fairly apprise the parties ofthe action and

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hearing. "Successful actual notice is not required; the adverse party need only prove an

attempt to provide actual notice." Guarino v. Productos Roche S.A., 839 F. App'x 334,

340 (11th Cir. 2020); see Yukos Cap. S.A.R.L. v. OAO Samaraneftegaz, 963 F. Supp. 2d

289,297(S.D.N.Y. 2013)("Due process does not require perfect or actual notice."). "The

notice must be ofsuch nature as reasonably to convey the required information, and it must

afford a reasonable time for those interested to make their appearance." Mullane v. Cent.

Hanover Bank & Tr. Co., 339 U.S. 306, 314(1950)(internal citations omitted). Here, the

multiple mailings to Eruption from the arbitrator, all via express mail service with delivery

confirmation, were reasonably calculated under the circumstances to fairly apprise

Eruption ofthe arbitration proceeding and to provide a reasonable time and opportunity for

Eruption to defend itself and present its objections. Absent convincing evidence to the

contrary, which has not been presented in this case, the Court defers to the arbitrator's

statements in the arbitral award of having mailed multiple notices to Eruption and

confirmed their delivery. (Doc. 1 pp. 18-19.) Eruption has not carried its burden under

Article V(l)(b) ofthe New York Convention ofshowing lack of proper notice.

3.     Article V(2)(b)- Contrary to the Public Policy of the United States


       Eruption lastly argues that equity,justice, and public policy demand the Court refuse

the arbitral award. (Doc. 12 pp. 21-23.) Article V(2)(b) of the New York Convention

allows a court to refuse an arbitral award where "recognition or enforcement of the award

would be contrary to the public policy ofthat country." The against-public-policy defense

"is to be 'construed narrowly to be applied only where enforcement would violate the

forum state's most basic notions of morality and justice.'" Asignacion v. Rickmers Genoa

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Schiffahrtsgesellschaft mbH & Cie KG,783 F.3d 1010,1016(5th Cir. 2015)(quoting Mcfe

C Corp. V. Erwin Behr GmbH & Co., KG,87 F,3d 844, 851 n.2 (6th Cir. 1996)). "[T]he

defense is frequently invoked but rarely successful, particularly in view of the strong

United States policy favoring arbitration." Agility Pub. Warehousing Co. K.S.C., Pro.

Cont. Administrators v. Supreme Foodservice GmbH,495 F. App'x 149,151 (2d Cir. 2012)

(citing Telenor Mobile Commc'ns AS v. Storm LLC,584 F.3d 396,405(2d Cir. 2009), and

Ministry ofDef. & Supportfor the Armed Forces ofthe Islamic Republic ofIran v. Cubic

Def. Sys., Inc.,665 F.3d 1091,1097(9th Cir. 2011)). The Second Circuit noted the against-

public-policy defense is "tightly restricted" and "applies only where enforcement of the

arbitration award, as opposed to enforcement of the underlying contract, would violate

public policy." Yukos Cap. S.A.R.L. v. Samaraneftegaz,592 F. App'x 8,11 (2d Cir. 2014).

       As the Court already determined that Eruption was lawfully bound as a party to the

sales contracts due to Liang Francis' apparent and/or actual authority, and Eruption has not

proven a lack ofproper notice ofthe arbitration proceeding, the Court cannot say enforcing

the arbitral award would be against United States law or policy. Indeed, under these

circumstances, refusing to confirm the award would more likely "violate our most basic

notions of morality and justice." Telenor Mobile Commc'ns, 584 F.3d at 411.

       Eruption asserts,"The general rule for this matter is simple - the law should not aid

in the carrying out ofa fraud." (Doc. 12 p. 22.) The premise ofEruption's argument is not

supported. Even assuming Francis Liang committed the fraud alleged by Eruption, which

this Court does not here find, Weihai is the party seeking to confirm the arbitral award,and

Eruption has not shown Weihai committed any fraud. Eruption has not carried its burden

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of proving that confirming the arbitration award in this case constitutes condoning or

enforcing a fraud. The Court does not find the arbitral award should be refused under

Article V(2)(b) of the New York Convention as against the public policy of the United

States.


                              CONCLUSION AND ORDER


          Under the New York Convention and applicable caselaw, the Court starts from the

position that an arbitral award is valid and should be confirmed and enforced. Eruption

has not carried its burden of proving the arbitral award in this case should be refused in the

United States under one ofthe exceptions allowed under the New York Convention.

       IT IS THEREFORE ORDERED that Respondent Eruption Holdings, Inc.'s

Motion to Set Aside or Refuse Arbitral Award (Doc. 11) is DENIED.

       IT IS FURTHER ORDERED that Petitioner Weihai Textile Group Import &

Export Co., Ltd.'s Petition to Confirm an International Arbitral Award (Doc. I) is

GRANTED. The China International Economic and Trade Arbitration Commission

(CIETAC) Arbitral Award, dated January 15, 2021, is hereby CONFIRMED under the

New York Convention.


       IT IS FURTHER ORDERED that the Clerk of Court will please enter judgment

in favor of Petitioner and against Respondent in the amount of $566,937.10, plus all fees,

costs, and interest ordered in the January 15, 2021 CIETAC Arbitral Award.

       DATED: March         7     ,2022.



                                                            Skavdahl
                                                   United States District Court Judge

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